Action for damages instituted December 18, 1944, by Frieda Golden and Jack Golden against Ambrose H. Peters. From a judgment in favor of the plaintiffs, the defendant appeals.
The plaintiffs were tenants of premises leased from the defendant and used for living purposes.  They were originally heated with oil, but the heating system was changed to coal and the change necessitated removing a pipe which led from the basement to a vent covered by an iron grille located in the floor of a hallway.  After the pipe was removed the grille constituted the only covering of the vent and permitted smoke and fumes from the basement to enter the hallway and the plaintiffs' living quarters.  At the request of the plaintiffs the defendant closed the opening by inserting a metal pan immediately below the grille.  The pan was held in place by two small nails and it is admitted that they were sufficient only to hold the pan in place and that it would not, as thus affixed, bear a person's weight. *Page 40 
The plaintiff, Frieda Golden, was in the habit of removing the grille every week or ten days in order to wipe from the pan accumulations of dust and other substances.  The present case arises out of an accident in cleaning the pan.  She removed the grille, placed it to one side, cleaned the pan with a cloth, turned around to pick up the grille and slipped and fell into the opening.  A jury found the defendant negligent in covering the opening as above set out, that such negligence was the cause of Frieda Golden's injury, and assessed damages in her behalf and in behalf of her husband.  Judgment was entered on the verdict.
It is agreed by the parties that the issue in this case is one of common-law negligence.  It was determined below that the safe-place statute was not involved and the ruling in that respect is not questioned.
There can be no doubt that the pan was insecurely attached. It gave an appearance of security which was not present.  Had this false appearance caused Frieda Golden to rest her weight upon it, appellant might have been held liable, since he might have anticipated some such result.  However, the accident was not caused by any such factor.  Mrs. Golden was not induced by the appearance of the pan to place her weight upon it.  She slipped and fell into the opening while endeavoring to avoid placing her weight upon it.
Had the pan been a removable one and had it been entirely removed at the time of the accident, the result would have been the same.  If such had been the case, no one could very well claim that any false appearance of security was involved, since with the grille and the pan removed the opening would be entirely free of any cover.  There is no evidence in the case *Page 41 
which connects a false appearance of security with the accident. It happened because Mrs. Golden slipped and fell just as she would have slipped and fallen had there been no cover.
We know of no cases and none have been called to our attention which imposed upon the appellant a duty to so affix the pan that it would bear the weight of one who, while seeking to avoid it, might inadvertently fall upon it in the process of cleaning it.  There being no such duty imposed upon the appellant, he was not guilty of actionable negligence in failing to discharge it.  Waube v. Warrington (1935), 216 Wis. 603,258 N.W. 497.
By the Court. — Judgment reversed, with directions to dismiss the complaint.